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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF OKLAHOMA

United States of America,
Plaintiff,
vs. Case No.: 24-cr-00057-GKF-1
CONSENT TO PROCEED BEFORE
Morgan Cole Womack , A MAGISTRATE JUDGE FOR A
Defendant(s). CHANGE OF PLEA IN A FELONY
CASE

A United States Magistrate Judge has explained to me the nature of the offense(s) with which I am
charged, including the maximum possible penalties which might be imposed if ] am found guilty. A Magistrate
Judge has also informed me of my right to the assistance of legal counsel. A Magistrate Judge has further

informed me of my right to trial, judgment, and sentencing before a United States District Judge.
I hereby waive (give up) my right to trial before a United States District Judge, and consent to a

change of plea before a United States Magistrate Judge. I understand that I will be sentenced by a United
States District Judge.

Date: 7/10/2024

Gm cE ~ Steel, US. Magistrate Tadue

Arraignment_Change Of Plea_MJ_Felony (11/2021)
